       Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 1 of 15 PageID #:1



                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IRON MAIDEN HOLDINGS LTD.,

       Plaintiff,
                                                            Case No.: 1:18-cv-522
v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                          COMPLAINT

        Plaintiff Iron Maiden Holdings Ltd. (“IMHL” or “Plaintiff”), by its undersigned counsel,

 hereby complains of the Partnerships and Unincorporated Associations identified on Schedule A

 attached hereto (collectively, “Defendants”), and for its Complaint hereby alleges as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a)–(b)

 and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

 the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

 so related to the federal claims that they form part of the same case or controversy and derive

 from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

 properly exercise personal jurisdiction over Defendants since each of the Defendants directly

 targets consumers in the United States, including Illinois, through at least the fully interactive

 commercial Internet stores operating under the Defendant Domain Names and/or the Online

                                                 1
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 2 of 15 PageID #:2



Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademarks. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s federally

registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                        INTRODUCTION

    3. This action has been filed by Plaintiff to combat online counterfeiters who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

with Plaintiff’s IRON MAIDEN trademarks, which are covered by U.S. Trademark Registration

Nos. 4,848,431; 3,840,031; 1,307,146; 1,306,972 and 1,308,370. The Registrations are valid,

subsisting, and in full force and effect. A true and correct copy of the federal trademark

registration certificates for the marks are attached hereto as Exhibit 1.

        4.      The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiff’s

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going



                                                  2
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 3 of 15 PageID #:3



to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademarks, as well as to protect unknowing consumers from purchasing

unauthorized IRON MAIDEN products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each defendant has offered to sell and ship infringing

products into this Judicial District.

                                        THE PLAINTIFF

        6.      Plaintiff, Iron Maiden Holdings Ltd., is a Limited company having its principal

 place of business in the United Kingdom. It is associated with IRON MAIDEN, an English

 metal band formed in Leyton, East London, in 1975 by bassist and primary songwriter Steve

 Harris. Plaintiff is the official source of IRON MAIDEN products:




                                                  3
     Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 4 of 15 PageID #:4




       https://ironmaiden.com/online-shop

       7.     Since the initial launch of its original IRON MAIDEN brand products, Plaintiff’s

IRON MAIDEN marks are and have been the subject of continuous marketing and promotion by

Plaintiff. Plaintiff has and continues to market and promote its IRON MAIDEN marks in the

industry and to consumers.

       8.     The IRON MAIDEN trademarks are distinctive and identify the merchandise as

goods from Plaintiff. The registrations for the IRON MAIDEN trademarks constitute prima facie

evidence of their validity and of Plaintiff’s exclusive right to use the IRON MAIDEN trademarks

pursuant to 15 U.S.C. § 1057 (b).

      9.      The IRON MAIDEN trademarks have been continuously used and never

abandoned.

       10.    Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the IRON MAIDEN trademarks. As a result, products

                                              4
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 5 of 15 PageID #:5



bearing the IRON MAIDEN trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being products sourced from Plaintiff.

                                          THE DEFENDANTS

        11.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and

continues to sell counterfeit IRON MAIDEN products to consumers within the United States,

including Illinois and in this Judicial District.

                          THE DEFENDANTS’ UNLAWFUL CONDUCT

        12.     The success of the IRON MAIDEN brand has resulted in its counterfeiting.

Plaintiff has identified numerous domain names linked to fully interactive websites and

marketplace listings on platforms such as iOffer and Aliexpress, including the Defendant Internet

Stores, which were offering for sale, selling, and importing counterfeit IRON MAIDEN products

to consumers in this Judicial District and throughout the United States. Defendants have

persisted in creating the Defendant Internet Stores. Internet websites like the Defendant Internet

Stores are estimated to receive tens of millions of visits per year and to generate over $135

billion in annual online sales. According to an intellectual property rights seizures statistics

report issued by Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods

seized by the U.S. government in fiscal year 2013 was over $1.74 billion, up from $1.26 billion

in 2012. Internet websites like the Defendant Internet Stores are also estimated to contribute to



                                                    5
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 6 of 15 PageID #:6



tens of thousands of lost jobs for legitimate businesses and broader economic damages such as

lost tax revenue every year.

       13.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine IRON MAIDEN products. Many of the

Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards,

Western Union and PayPal. Defendant Internet Stores often include images and design elements

that make it very difficult for consumers to distinguish such counterfeit sites from an authorized

website. Defendants further perpetuate the illusion of legitimacy by offering “live 24/7”

customer service and using indicia of authenticity and security that consumers have come to

associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and PayPal® logos. Plaintiff has not licensed or authorized Defendants to use its

IRON MAIDEN trademarks, and none of the Defendants are authorized retailers of genuine

IRON MAIDEN products.

       14.     Upon information and belief, Defendants also deceive unknowing consumers by

using the IRON MAIDEN trademarks without authorization within the content, text, and/or meta

tags of their websites to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for IRON MAIDEN products. Additionally, upon information and

belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Stores listings show up at or near the top of

relevant search results and misdirect consumers searching for genuine IRON MAIDEN products.

Further, Defendants utilize similar illegitimate SEO tactics to propel new domain names to the

top of search results after others are shut down. As such, Plaintiff also seeks to disable Defendant



                                                 6
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 7 of 15 PageID #:7



Domain Names owned by Defendants that are the means by which the Defendants could

continue to sell counterfeit IRON MAIDEN products.

       15.     Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of Defendant

Internet Stores. Other Defendant Domain Names often use privacy services that conceal the

owners’ identity and contact information. Upon information and belief, Defendants regularly create

new websites and online marketplace accounts on various platforms using the identities listed in

Schedule A to the Complaint, as well as other unknown fictitious names and addresses. Such

Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive

counterfeiting operation, and to avoid being shut down.

       16.     There are similarities among the Defendant Internet Stores. For example, some of

the Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, the counterfeit IRON MAIDEN products for sale

in the Defendant Internet Stores bear similarities and indicia of being related to one another,

suggesting that the counterfeit IRON MAIDEN products were manufactured by and come from a

common source and that, upon information and belief, Defendants are interrelated. The Defendant

Internet Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, accepted payment methods, check-out

methods, meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection,

lack of contact information, identically or similarly priced items and volume sales discounts,

similar hosting services, similar name servers, and the use of the same text and images.




                                                7
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 8 of 15 PageID #:8



       17.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that

the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       18.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiff’s enforcement efforts. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal

transaction logs from previous similar cases indicates that offshore counterfeiters regularly move

funds from U.S.-based PayPal accounts to China-based bank accounts outside the jurisdiction of

this Court.

       19.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the IRON MAIDEN trademarks in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit IRON MAIDEN products

into the United States and Illinois over the Internet. Each Defendant Internet Store offers



                                                 8
      Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 9 of 15 PageID #:9



shipping to the United States, including Illinois, and, on information and belief, each Defendant

has offered to sell counterfeit IRON MAIDEN products into the United States, including Illinois.

        20.    Defendants’ use of the IRON MAIDEN trademarks in connection with the

advertising, distribution, offering for sale, and sale of counterfeit IRON MAIDEN products,

including the sale of counterfeit IRON MAIDEN products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.


                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        21.    Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

        22.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered IRON MAIDEN

trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The IRON MAIDEN trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from Plaintiff’s products provided under the IRON MAIDEN

trademarks.

        23.    Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the IRON MAIDEN trademarks without Plaintiff’s permission.

        24.    Plaintiff is the exclusive owner of the IRON MAIDEN trademarks. Plaintiff’s

United States Registrations for the IRON MAIDEN trademarks (Exhibit 1) are in full force and

effect. Upon information and belief, Defendants have knowledge of Plaintiff’s rights in the



                                                 9
    Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 10 of 15 PageID #:10



IRON MAIDEN trademarks, and are willfully infringing and intentionally using counterfeits of

the IRON MAIDEN trademarks. Defendants’ willful, intentional and unauthorized use of the

IRON MAIDEN trademarks is likely to cause and is causing confusion, mistake, and deception

as to the origin and quality of the counterfeit goods among the general public.

       25.     Defendants’      activities   constitute   willful    trademark     infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       26.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known IRON MAIDEN trademarks.

       27.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of counterfeit IRON MAIDEN products.


                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       28.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       29.     Defendants’ promotion, marketing, offering for sale, and sale of counterfeit IRON

MAIDEN products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit IRON MAIDEN products by Plaintiff.

       30.     By using the IRON MAIDEN trademarks in connection with the sale of

counterfeit IRON MAIDEN products, Defendants create a false designation of origin and a




                                                  10
    Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 11 of 15 PageID #:11



misleading representation of fact as to the origin and sponsorship of the counterfeit IRON

MAIDEN products.

         31.   Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit IRON MAIDEN products to the general public is a

willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

         32.   Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.


                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

         33.   Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

         34.   Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit IRON MAIDEN products as those of Plaintiff, causing a

likelihood of confusion and/or misunderstanding as to the source of their goods, causing a

likelihood of confusion and/or misunderstanding as to an affiliation, connection, or association

with genuine IRON MAIDEN products, representing that their products have Plaintiff’s approval

when they do not, and engaging in other conduct which creates a likelihood of confusion or

misunderstanding among the public.

         35.   The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.




                                                 11
    Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 12 of 15 PageID #:12



       36.       Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using the IRON MAIDEN trademarks or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             IRON MAIDEN product or is not authorized by Plaintiff to be sold in connection

             with the IRON MAIDEN trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             IRON MAIDEN product or any other product produced by Plaintiff that is not

             Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

             and approved by Plaintiff for sale under the IRON MAIDEN trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

             counterfeit IRON MAIDEN products are those sold under the authorization, control,

             or supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

             with Plaintiff;

       d. further infringing the IRON MAIDEN trademarks and damaging Plaintiff’s goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;


                                                  12
    Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 13 of 15 PageID #:13




       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

           for sale, and which bear any Plaintiff trademarks, including the IRON MAIDEN

           trademarks, or any reproductions, counterfeit copies, or colorable imitations thereof;

       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Online Marketplace Accounts, the Defendant Domain Names, or any other domain

           name or online marketplace account that is being used to sell or is the means by which

           Defendants could continue to sell counterfeit IRON MAIDEN products; and

       h. operating and/or hosting websites at the Defendant Domain Names and any other domain

           names registered or operated by Defendants that are involved with the distribution,

           marketing, advertising, offering for sale, or sale of any product bearing the IRON

           MAIDEN trademarks or any reproduction, counterfeit copy or colorable imitation thereof

           that is not a genuine IRON MAIDEN product or not authorized by Plaintiff to be sold in

           connection with the IRON MAIDEN trademarks; and

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through h, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendant Domain

Names shall be changed from the current registrant to Plaintiff, and that the domain name

registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall


                                                 13
    Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 14 of 15 PageID #:14




unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the

Defendant Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer and Alibaba

Group Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities (collectively,

“Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and

domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit IRON MAIDEN products using the IRON MAIDEN

           trademarks, including any accounts associated with the Defendants listed on Schedule

           A;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit IRON MAIDEN products using

           the IRON MAIDEN trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Domain Names from any search index; and

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for




                                                14
    Case: 1:18-cv-00522 Document #: 1 Filed: 01/23/18 Page 15 of 15 PageID #:15




infringement of the IRON MAIDEN trademarks be increased by a sum not exceeding three times

the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the IRON MAIDEN trademarks;

       7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.


DATED: January 23, 2018                             Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt, Esq. (Bar No. 6207971)
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF




                                               15
